     Case 21-60676-grs          Doc 13 Filed 01/20/22 Entered 01/20/22 10:53:44                      Desc Case
                                  Closed Without Discharge Page 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Kentucky
                                               London Division
                            Mailing Address: 100 E Vine Street Ste 200, Lexington, KY 40507−1430

In re Charles Truman Gayhart
      Angela D Gayhart                                        Case No. 21−60676−grs
      129 Lynn Fork Road
      Slemp, KY 41763                                         Chapter: 7
      129 Lynn Fork Road
      Slemp, KY 41763
 aka/dba:
 SSN/TID: xxx−xx−8632
          xxx−xx−0696


Debtor(s)

                                CASE CLOSED WITHOUT DISCHARGE




    All creditors and parties in interest are notified that the above−captioned case has been closed without entry of
discharge as Debtor did not file Official Form 423, Certification About a Financial Management Course.




DATED: 1/20/22

                                                                   Nathan W. Lee
                                                                   Clerk of Court


KYE_clswodsc                                                                                            13
